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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA ©: Case No: 21-cr-00147

40 U.S.C. § 5104(e)(2)(G)
: (Parading, Demonstrating, or Picketing in a
v. : Capitol Building)

Virginia Marie (“Jenny”) Spencer,
Defendant.
STATEMENT OF OFFENSE

Pursuant to Federal Rule of Criminal Procedure | 1, the United States of America, by and through
its attorney, the United States Attorney for the District of Columbia. and the defendant, Virginia Marie
(“Jenny”) Spencer, with the concurrence of her attorney, agree and stipulate to the below factual basis for
the defendant's guilty plea—that is, if this case were to proceed to trial, the parties stipulate that the United
States could prove the below facts beyond a reasonable doubt:

The Attack at the U.S. Capitol on January 6, 2021

l. The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include
permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only
authorized people with appropriate identification are allowed access inside the U.S. Capitol.

2. On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members
of the public.

3, On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
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session, elected members of the United States House of Representatives and the United States
Senate were meeting in separate chambers of the United States Capitol to certify the vote count of
the Electoral College of the 2020 Presidential Election, which had taken place on November 3,
2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately
1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Mike Pence was present and presiding, first in the joint session, and then in the
Senate chamber.

4, As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior of
the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd
away from the Capito! building and the proceedings underway inside.

5. At approximately 2:00 p.m., certain individuals in the crowd forced theit way
through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd
advanced to the exterior fagade of the building. The crowd was not lawfully authorized to enter
or remain in the building and, prior to entering the building, no members of the crowd submitted
to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized
security officials,

6. At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S,
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,
shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by

breaking windows and by assaulting members of law enforcement, as others in the crowd
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encouraged and assisted those acts. The riot resulted in substantial damage to the U.S. Capitol,
requiring the expenditure of more than $1.4 million dollars for repairs.

7. Shortly thereafter, at approximately 2:20 p.m., members of the United States House
of Representatives wa United States Senate, including the President of the Senate, Vice President
Pence, were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the
United States Congress, including the joint session, were effectively suspended until shortly after
8:00 p.m. the same day. In light of the dangerous circumstances caused by the unlawful entry to
the U.S. Capitol, including the danger posed by individuals who had entered the U.S. Capitol
without any security, screening or weapons check, Congressional proceedings could not resume
until after every unauthorized occupant had left the U.S. Capitol, and the building had been
confirmed secured, The proceedings resumed at approximately 8:00 p.m. after the building had
been secured. Vice President Pence remained in the United States Capitol from the time he was
evacuated from the Senate Chamber until the session resumed.

SPENCER’S Participation in the January 6, 2021, Capitol Riot

8. Virginia Marie (“Jenny”) Spencer and her husband Christopher Raphael (Chris”)
Spencer walked to the U.S. Capitol passing the bike rack fences which were set up around the
perimeter. Jenny and Chris Spencer spent time in the crowd by the inauguration stage on the west
side of the US. Capito! building, observing members of the crowd attacking law enforcement
repeatedly as they tried to keep the crowd away from the building. Jenny and Chris Spencer then
went up the northern set of stairs underneath the scaffolding to the north west terrace near the
Senate wing of the building.

9. Jenny and Chris Spencer entered a door which had been broken open not long
before with windows that were broken out on either side. Jenny and Chris Spencer then went into

the Crypt where other crowd members again attacked a line of officers trying to hold back the

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crowd. They went through the Crypt and up the stairs to the second floor. There, Jenny and Chris
Spencer went briefly into a hallway of offices belonging to Speaker Pelosi before crossing through
Statuary Hall.

10. Jenny and Chris Spencer joined another crowd in the Statuary Hall Connector
outside the House of Representatives, After a time, they went down the hall towards the east side
of the building where they ultimately exited onto the portico outside the House of Representatives
on the east side. On January 19, 2021, the FBI interviewed Jenny Spencer during which she
admitted to unlawfully entering and proceeding through the U.S. Capitol on January 6, 2021.

[1. The defendant knew at the time she entered the U.S. Capitol Building that that she
was willfully and knowingly parading, demonstrating, and picketing in a United States Capitol
Building.

Respectfully submitted,

CHANNING D. PHILLIPS
Acting United States Attorney
D.C. Bar No. 415793

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Jf
/ AUSA Jamie Carter
Assistant United States Attorney
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DEFENDANT'S ACKNOWLEDGMENT

 

1, Virginia Marie (“Jenny") Spencer, have read this Statement of the Offense and have
discussed it with my attorney. [ fully understand this Statement of the Offense. I agree and
acknowledge by my signature that this Statement of the Offense is true and accurate. I do this
voluntarily and of my own free will. No threats have been made to me noram | under the influence
of anything that could impede my ability to understand this Statement of the Offense fully.

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ATTORNEY'S ACKNOWLEDGMENT

I have read this Statement of the Offense and have reviewed it with my client fully. J
concur in my client's desire to adopt this Statement of the Offense as true and accurate. ,

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Attorney for Defendant >
